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                                      John Daly
                                      09/23/2022
 1                            UNITED STATES DISTRICT COURT

 2                           EASTERN DISTRICT OF MICHIGAN

 3                                  SOUTHERN DIVISION

 4

 5    DONNA POPLAR,
 6                            Plaintiff,

 7          vs.                                                    Case No. 4:21-cv-12568

 8                                                                 Hon. Victoria A. Roberts

 9    GENESEE COUNTY ROAD
10    COMMISSION and FRED F.
11    PEIVANDI, in his individual
12    capacity,
13                            Defendants.
14   _ _ _ __ _ _ _ __ _ _ _ /

15    PAGES 1 TO 38
16
17          The Deposition of JOHN DALY,

18          Taken at Hanson Remote,

19          Commencing at 8:43 a.m.,

20          Friday, September 23, 2022,
21         Before Tamara L. Thompson, CSR-5378.
22

23         Attorneys, Court Reporter               &     Witness appearing remotely .

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 1 A. Throughout that period of time, I was the managing              Q. In the interview process, she disclosed she had a vision
 2   director. Additionally for three years, I also served        2   disability?
 3   as the HR Director. And for the last seven years, I          3 A. Right. And she said that her vision was deteriorating.
 4   believe, I was the Director ofIT as well.                    4   Ifl recall, her vision was deteriorating and that
 5 Q. When you were director ofIT, were you also the managing     5   she -- so I was not surprised about three months later
 6   director or --                                               6   initially when (inaudible) it was the outside of the
 7 A. I held the managing director position continuously from     7   fence next to the building. And so she indicated that
 8   1999 until 201.                                              8   she was having some difficulties seeing where the fence
 9 Q. Okay. Perfect. Then while you were the managing             9   was because it's a hurricane type fence that you could
10    director, during this time, did all directors report       10      see through.
11    directly to you?                                           11             So she asked for a parking spot because of her
12 A. Yes.                                                       12      disabled vision that was closer to the building. So I
13 Q. Who were the directors that reported to you at that        13      accommodated that and assigned her a parking spot that
14    time? I would just say really within the -- since 2016.    14      was two or three spots down from mine. Then she did ask
15 A. Are you asking me the position or the person?              15      for the addition of an another employee to HR, and that
16 Q. The position and the person, if you can remember.          16      was initially made as that, first of all, that position
17 A. Let's see, first was during that period of time Rocky      17      had been there when I came in. Just been gapped for
18    Davis and Anthony Branch served as director of             18      several years.
19    maintenance. Randy Dellaposta served as director of        19             She asked if we could fill that position. And
20    freight maintenance at the facilities. Kermit Pitts,       20      I indicated, to her, that if - I inquired as to why.
21    McKinney Jackson and Donna Poplar served at director of    21      Initially it was because of the - there was an
22    HR. My finance director was Lynn Luellen, and I can't      22      increased workload due to the legal changes were taking
23    remember her name right now. She is director of - down     23      place with regards to OPED that were mandated by the
24    at the Oakland County Road Commission now.                 24      state additional reporting requirements and record
25 Q. Okay.                                                      25      keeping that was required. And I was aware of that
                                 _ __ _ _ _ ___J"""iJe-. . J _ l - - - - - - - - - - -- - - - - - - -- ---'<A!:Je...-9
 1 A. Then Coetta Adams took that position. Let's see,           1     because that was right at the end of the period that I
 2   Director of Engineering (inaudible) the first and he was    2     had just served as HR director.
 3   only there for about ten months, or about two years         3            So then in the discussions subsequent to that,
 4   while I was there. Then Fred Peivandi became the            4     I would say a month or so later, she indicated that,
 5   Director of Engineering. I think that's all the              5    again, her vision was deteriorating and she needed
 6   directors that reported directly to me.                      6    assistance. That if this person were to be hired, they
 7 Q. Thank you. I am going to stop my video because I'm          7    would be able to help her with things like even reading
 8   having a little cut in and out. I don't want my              8    some of the documents.
 9   bandwidth to prevent me from hearing what you have to        9 Q. And did you find that that was a reasonable request?
10    say. I'll just stop and see if that makes it better.       IO A. That was a reasonable request?
11    Thank you for your response.                               11 Q. Yes. For accommodation.
12           So during that time that you were managing          12 A. For accommodation.
13    director, Donna Poplar reported to you, and you say that   I 3 Q. Yes, for her vision.
14    she was the Human Resources Director. Did you hire         14 A. Before it had been gapped. My intent, from my
15    Donna directly?                                            15     experience, is that I had - there was the HR director,
16 A. I did.                                                     16     that position was (inaudible).
17 Q. When you hired Ms. Poplar, did she disclose, to you, at    17           (Answer incomplete because of
18    any time during the interview process or when she was      18           Zoom technical issues.)
19    hired, that she had a visual disability?                   19 Q. Ask you the question again.
20 A. She did.                                                   20           So I asked you previously, was it a reasonable
21 Q. When she disclosed that she had a visual disability to     21     -- was Donna's request for accommodation reasonable for
22    you, did she also ask for accommodations for her           22    the HR assistance?
23    disability?                                                23 A. Yes.
24 A. She disclosed the disability, to me, during the final      24 Q. And then you stated that the position was a position
25    meeting before I made the offer to hire her.               25    that had been previously budgeted and not filled,
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      correct?                                                             I      was -- were you satisfied with her work?
  2 A. No. You've got to remember, we are talking about a span 2 A. Yes, very much so.
 3    of between seven or eight years between the time that I    3 Q. What was your relationship like with her?
  4   was hired and when I came in as manager and director and 4 A. We had a professional relationship and it was certainly
  5   when I was HR director. When I came in as HR director,     5   amicable. She brought me ideas. I wasn't able to
  6   there were four people in the HR department. There were 6      obviously approve all of them, but ifwe had resources
  7   the director, and then three assistants. One of those      7   to say do it, to implement that idea. She did make some
  8   assistants retired immediately after I got to the Road     8   changes on her own almost right away that I thought were
 9    Commission, not immediately, about a year, and that        9   very appropriate.
 10    position was nerve filled.                               10          At one point, I did a tentative reorganization
 11 Q. Okay. So I want to go back to a line of questioning      11    in which she supervised the director of purchasing for a
 12    from earlier.                                            12    period of time. I believe that was the relationship
 13          You stated that as the position for the HR         13    when I left. But the director still reported to me. I
 14    administrative assistant developed, Ms. Poplar requested 14    would say that we had a good working relationship.
 15    accommodations and she asked that this employee be able            15 Q. What about her demeanor, as an HR director, and her
 16    to assist her with reading. Do you know any other tasks            16   relationship with other employees during the time that
 17    that this HR administrative assistant was supposed to              17   you worked with Ms. Poplar, would you say that she was a
 18    assist Ms. Poplar with?                                            18   fair and impartial HR director?
 19 A. Well, I believe in keeping in both the taking ofrecords            19 A. I believe that to be true. The reason I do is because I
 20   and the reading of records, but that's what I recall was            20   never had a complaint about her from either the -- from
 21   that position was going to be necessary. First of all,              21   other department heads or from an employee. So I would
 22   it was necessary whether, in my opinion, whether                    22   believe that her working relationship with them was as a
 23   Ms. Poplar was there or not because of the increased                23   professional one.
 24   workload.                                                           24 Q. During the time that you were in leadership at the
 25         The second thing though is filling that                       25      Genesee County Road Commission, you did work with and

 1    position would have been a reasonable accommodation to                      supervise Fred Peivandi, correct?
 2    her to her continuing deteriorating vision.              2 A. I worked with him and I coordinated the supervision of
 3 Q. Thank you. Did you also make physical, I guess,          3   Fred. One of the things that makes the position of
 4   building accommodations for the HR administrative         4   county highway engineer different than all the rest of
 5   assistant? Was there a special buildout done for this     5   the department heads is, by statute, that position is
 6   particular employee?                                      6   appointed by the board rather than the manager director.
  7 A. There was a - we were moving forward with filling that 7          Fred worked in that capacity, worked for the
 8    position and we were looking - we did some changes in   8    board, and we had a relationship in which we coordinated
  9   the layout of HR. So it made sense when we were          9   things. I handled the administrative side and he
 10    planning that to accommodate that position.            10    handled the engineer side.
 11 Q. During your 19 years ofleadership at the Road                      11 Q. While you were in leadership at the Road Commission, did
 12   Commission, was HR ever placed under finance or was that            12   you ever receive complaints about Mr. Peivandi, while
 13   ever a combined department?                                         13   you were there, about his working relationship with
 14 A. To my recollection, the HR director worked directly for            14   others?
 15    me the entire time I was there.                                    15 A. I did.
 16 Q. Mr. Daly, you stated earlier that you hired Ms. Poplar.            16 Q. Do you remember the basis of those complaints?
 17   Do you remember her credentials, or her experience, why             17 A. The basis of those complaints were that he was being
 18   you specifically thought she was the most qualified for             18   unreasonable and unfair with some of his requirements.
 19   the position?                                                       19 Q. Thank you, Mr. Daly.
 20 A. I remember that she had extensive experience in HR                 20              If you don't mind, now I'd like to take a
 21    previously with the City of Flint. She had also, I                 21      brief five- or ten-minute break. It's 9:02. Ifwe
 22    believe, managed a non-profit at some point. She was               22      could come back at 9:12. And then ifl have any
 23    very familiar with the Flint operating environment. To             23      additional questions, I will ask at that time. If not,
 24    me, that was also an important factor.                             24      I'll allow Mr. Cascini, the Road Commission's attorney
 25 Q. During your time that you worked with Ms. Poplar, what             25      to ask you some questions, okay?




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 1 A. Okay.                                                       Q. Did Ms. Poplar follow the directives that you gave her?
 2          (A short recess was taken)                          2 A. Yes.
 3 BYMS.LEE:                                                    3 Q. Was Ms. Poplar ever insubordinate under your leadership
 4 Q. Thank you, Mr. Daly, for allowing me to take that quick   4   at--
 5   break. We are back on the record now. I do have just a     5 A. No.
 6   few more questions that I want to ask you before I tum     6 Q. Okay. Thank you so much, Mr. Daly. I appreciate your
 7   it over to Attorney Cascini to ask you a few questions.    7   time today. And now I'll allow Attorney Cascini to ask
 8          I wanted to go back to your testimony where         8   you some questions ifhe wishes to do so.
 9   you mentioned that Ms. Poplar did bring changes to you     9           MR. CASCINI: Thank you, Charis.
10    and ideas to you. You stated before that you were        10                  EXAMINATION
11    unable to implement them all. I'd like to ask you how    11 BY MR. CASCINI:
12    did Ms. Poplar respond when you couldn't maybe implement 12 Q. John, I don't think I need to introduce myself. My name
13    a recommendation or did not take her advice on a         13    is Andrew Cascini. I'm representing the defendants in
14    particular matter?                                       14    this particular lawsuit, including the defendant the
15 A. She received it in a professional manner. One of the     15    Genesee Road Commission. I do have some questions I
16    things that I enjoyed about working with Ms. Poplar, if  16    would like to ask you. If you have any trouble hearing
17    we did get into something when she brought it to me and 17     me, at any point in time, or if you don't understand the
18    I wasn't able to implement it, she would even go back    18    question, please interrupt me and tell me. I won't hold
19    and take another look and say can we do it a little bit  19    it personally. I promise.
20    differently. Can we move something different so we can   20 A. Okay.
21    accomplish this.                                         21 Q. I'd like to talk a little bit about the vacant position
22           On one occasion where we were looking at some     22    in HR that you referred to earlier. You mentioned that
23    reporting that HR was having to do, initially the way    23    at some point during your tenure as managing director
24    she suggested we couldn't do, she went back-- and I      24    there was a position in the HR department that was being
25    told her that. She went back on her own initiative and   25    held vacant and non-budgeted; is that correct?

 1   repackaged it. Came back to me and it was a more                1 A. That is correct.
 2   efficient process and we were able to implement it. I           2 Q. Describe the circumstances upon which that position
 3   never -- her response, whenever I had to deny her               3   became vacant and it was held as non-budgeted.
 4   request, was simply one of professionalism. She                 4 A. The position was filled when I came into the Road
 5   understood the funds were limited.                              5   Commission in December of '99. As I recall, the
 6 Q. Okay. So you never -- so you saw, even in your                 6   incumbent, at that time, had been in there for at least
 7   response, that you couldn't to something, you saw that          7   a year or two. She had been a long-term employee, but
 8   she took initiative at times to see if she could assist         8   had moved into that position previous to my arrival.
 9   the Road Commission?                                            9           About a year after I got there, she elected to
10 A. Absolutely.                                                   10    retire.   By this time, it's about 2002, 2003, I could
11 Q. Okay. Then did you ever experience, while you were the        11    see  that  we were going to have a problem ahead
12    managing director, a power struggle with Ms. Poplar in        12    economically not just with the HR, but with the road
13    the sense that she felt that her recommendations, or          13    commission funding generally. Just because of the way
14    suggestions, should be that most importance?                  14    the  committee was going, I put a hiring freeze on. That
15 A. No.                                                           15    hiring   freeze stayed on for about six or seven years.
16 Q. Okay. During the time that you all worked together,           16            The  position after that was subsequently never
17    Ms. Poplar was respectful to you?                             17    filled.  We  wouldn't have filled it. The driving force,
18 A. Yes, she was.                                                 18    from    my  perspective,   was the increased workload that was
19 Q. And did she ever leverage her position as the HR              19    being   mandated     by  the State with regards to OPED,
20    director against you as the managing director before the      20    medical    care  for current  employees. And those
21    board or any other employees?                                 21    requirements      were  what  were  driving, taking a really
22 A. No.                                                           22    good   look  at that  position.  That was the reason,
23 Q. Did Ms. Poplar accept your authority as managing              23    frankly,   that when    I was serving  as the HR director, I
24    director?                                                     24    really saw there was a need to fill that and provide
25 A. From my perspective, absolutely.                            125     more administrative support for the director of HR.



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 1   a period of about three really solidified that we needed               should be created, we are talking about six months after
 2   an addition.                                                       2   she hired when she first brought it up to you. What
 3 Q. To take that analogy forward, you made the decision               3   were the reasons, as you best recall them, that she
 4   prior to Donna being there, but then the plan about what           4   explained she thought that position was necessary?
 5   the job would entail exactly took shape during Donna's             5 A. Her principal reasons were the ones I had eluded to was
 6   tenure?                                                            6    to make the department more efficient and to better make
 7 A. That's correct. That's a good assessment.                         7    us more responsive to the deadlines that the State was
 8 Q. Got it. So you did mention that when Donna Poplar was     8            imposing on this, both with regards to record keeping
 9   first hired, during the interview process, Donna Poplar    9            and with regards to reporting to the State what we were
10   disclosed to you that she had a vision disability,        10   doing.
11   right?                                                    11 Q. Okay. Now when did your time with the Road Commission
12 A. That is correct.                                         12   end approximately?
13 Q. And she asked for accommodation and that was the parking 13 A. My physical time with the Road Commission ended in
14   spot situation that you had described earlier?            14   November of '17. I was on administrative leave until
15 A. Yes.                                                             15   April of '18.
16 Q. She had had trouble parking far away from the building           16 Q. Okay. So just for purpose of timeline, Donna Poplar
17   and wanted to park closer in order to make sure that she          17   gets hired late 2016. She raises the issue ofneeding
18   was able to see the path between her parking spot and             18   HR administrative assistant, you said, about six months
19   the building?                                                     19   later. So we are talking kind of early to mid 2017. By
20 A. She wanted to park closer.                                       20   November of that year, that's when your, I would say,
21 Q. Sorry. Maybe I misstated that. She wanted to park                21   physical attendance at the job ends. Is that an
22   closer to the path between her parking spot and the               22   appropriate timeline in all three phases?
23   building, was closer?                                             23 A. That's an appropriate timeframe.
24 A. Yes.                                                             24 Q. You said -- you mentioned that when she first brings up
25 Q. I understand. After she began in her position, you               25   the issue of the HR administrative assistant position

 I    mentioned that she began to ask for the creation of the           I   being created, that she is doing it for reasons of
2   HR administrative position; is that correct?                        2   operational efficiency. In fact, the same reasons that
3 A. That is correct.                                                   3   you kind of come to the conclusion we need another
4 Q. Approximately how long after she was hired did she begin          4    person back in here?
5   to ask for the creation of that HR administrative                   5 A. That's correct.
 6   assistant position?                                                6 Q. You also mentioned, during your direct examination
 7 A. I would say approximately six months. I mean, one of              7   testimony, however, that eventually there come to be
 8   the things that I thought was interesting was I had not            8   some discussions about more the role of that position,
 9   shared with Donna -- I did not share with Donna my                 9   how it's used to accommodate her visual disability or
10    conclusion about that position that I wanted with the            IO    that it could help her with her visual disability; is
11    new HR director coming on board. I wanted to let her             11   that right?
12    find her way about what she thought.                             12 A. That's correct.
13 Q. So she, after being in the job for a few months, came to         13 Q. Approximately when -- we have just laid out a rough
14   you and said I think that I need an HR administrative             14   timeline. When did those reasons come into play from
15   person. You already testified, sir, that you made the             15   Donna about the creation of the position?
16   prior determination that an HR administrative person was          16 A. I'd say they came in probably about 30 to 45 days after
17    necessary. So you were thinking that those two                   17   she suggested it.
18   suggestions were beginning to harmonize; is that right?           18 Q. Okay. So it's -- at first it's the operational
19 A. Right. I wanted to wait until I had somebody. My                 19   efficiency. And then about a month, possibly month and
20   experience in HR was limited to that period of time when          20   a halflater she starts saying also this could be used
21   I was serving as interim director. I wanted to let                21   to accommodate the visual disability?
22   someone who had a great deal of HR experience see the             22 A. As I recall, that's a fair assessment of the timeframe.
23   situation and reach their own conclusions.                        23 Q. Okay. Did she ever, at any point in time, tell you that
24 Q. I see. When Donna shared, for you, those reasons that            24   she needed this person or needed a position that was
25   she believed an HR administrative assistant position              25   exclusively and solely devoted to assisting her with her
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         visual disability?                                                1 Q. Little bit earlier you provided some testimony about a
  2 A. No.                                                                 2   buildout that happened in the HR department; is that
  3 Q. In fact, you had envisioned that the position that we               3     right?
  4      are talking about here, the HR administrative position,           4 A. Right.
  5      you thought that was a necessary position before you              5 Q. Pardon my ignorance, buildout, what are we talking
  6      even knew that you were going to have an HR director who          6   about; are we talking about an expansion of physical
  7      happened to have visual disabilities, right?                      7   premises?
  8 A. That is correct.                                                    8 A. No, no. It was, I guess, a restructuring of the
  9 Q. During your tenure, was the HR Administrative Assistant             9   existing space allocation.
 IO   position ever actually created?                                     10 Q. Okay. When you say space allocation, I'm not trying to
 11 A. We relied on the position description.                             11    belabor the point. The actual physical space where the
 12 Q. You relied on the position description that had existed            12    HR people work, the office space?
 13   from back when it was being held vacant; is that right?             13 A. Right. It was at the time that (inaudible) fall under
 14 A. Correct.                                                           14    HR. There was -· the purchasing was located immediately
 15 Q. Okay. Was the position a part-time or a full-time                  15    next door to HR. And as I recall, the "buildout" was
 16   position when you decided to re-budget it?                          16    removal of a wall between HR and purchasing as well as
 17 A. When we decided to - when we decided to re-budget it -             17    opening up some the spaces for access - for employee
 18   let me back up.                                                     18    access during the A2 to get into HR.
 19          The position, when I first got here as it had                19 Q. The testimony that I have here, and this is my writing.
 20   unfolded, was a full-time position. Because of the cost             20    Please do not let me put words in your mouth. My
 21   constraints and because of the fact that it had been so             21    recollection of your testimony was that some of those
 22   long since the position had been filled, I looked - my              22    buildout changes were done to "accommodate that
 23   first take was a part-time position at a part-time level            23    position". I believe that you were referring to the HR
 24   and then see how that transpired vis-a-vis the                      24    Administrative Assistant position. Is that accurate?
 25   efficiency of the department.                                       25 A. Yes.
 - - - - - -- - - - --                - - - - - - --           -""'IU3''---''-Yl - - - - -- - - - - -- - -- - - - - ----"'-"'-Y-"'-'-·9
      Q. Okay. So eventually during your tenure, so I'm only                   Q. When you say accommodate that position, do you mean to
  2     asking for that period of time because afterward, after            2     make a physical space for the HR Administrative
  3     you leave, then there is a change in leadership over               3     Assistant?
  4     there. But during your tenure, did that administrative            4 A. Yes.
  5   position become budgeted?                                            5 Q. You're not saying that the buildout was performed in
  6 A. No.                                                                 6     order to accommodate Donna Poplar's visual disability?
  7 Q. Okay. Was there a proposal for it to be budgeted?                   7 A. No.
  8 A. No.                                                                 8 Q. Understood. Okay. You mentioned that -- weJI, strike
  9 Q. So you and Donna had independently come up with the idea           9      that.
 10      that you needed to budget a position. Had you remained           10           You served as managing director since 1999.
 11      in place as managing director -- I'm asking you a                11      So you were with the Genesee County Road Commission for
 12      hypothetical question now.                                       12   a long time, right?
 13            Did you have the intent in the plan to budget              13 A. Almost 19 years.
 14   that position in the future?                                        14 Q. Almost 19 years. In fact. the during that period of
 15 A. I actually had the intent to budget that position when I           15   time, Mr. Peivandi, the current managing director and
 16   left. Remember, I left In November of'l7. Our fiscal                16   then the director of engineering, was he there during
 17      year starts first of October, so my intent had been to           17   that entire time?
 18      budget. But in the confusion that was surrounding                18 A. Yes.
 19   around the Road Commission, that didn't make it into the            19 Q. So you worked with Fred from 1999 to 2018, right?
 20   budget. My intent had been had I stayed, I would have               20 A. No. Okay.
 21   budgeted that position.                                             21 Q. Okay. If you could clarify, what were the periods where
 22 Q. Would you have budgeted that position in October of2017            22   that did not overlap?
 23   or at the next available opportunity as a part-time or a            23 A. Fred - well, Fred when I got there, Fred was not the
 24      full-time position?                                              24   county highway engineer.
 25 A. I would have budged it as a part-time position.                    25 Q. Okay.




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 1 A. But became the county highway engineer like, I want to         knowledge, with the Road Commission?
 2   say, '14 or '15. That was the point at which I started      2 A. She is.
 3   working with him directly.                                  3 Q. And is she currently a supervisor with the Road
 4 Q. Prior to him becoming the county highway engineer, he      4   Commission in the engineering department, to the best of
 5   was internally within the administration, within the        5   your knowledge?
 6   engineering department however; is that right?              6 A. No, she is not.
 7 A. Yes, that is correct.                                      7 Q. She is not supervisor in the engineering department?
 8 Q. So I know how the statute works. But let's talk about       8 A. No.
 9   it for a second. We have got this position that is           9 Q. What position, to your best of your knowledge, does she
10    required by statute for there to be county highway         IO    occupy within the engineering department?
11    engineer that the board has the sole authority and         11 A. I don't believe she holds a position within the
12    discretion to appoint, right?                              12    engineering department.
13 A. Yes, that is correct.                                      13 Q. You caught me. You're right. I meant to say
14 Q. Position that needs to be filled. Statute makes it         14    maintenance department. Perhaps my brain isn't firing
15    happen?                                                    15    correctly.
16 A. Yes.                                                       16          Is she currently, to the best of your
17 Q. Separately however, you have an administration where you   17    knowledge, a supervisor in the maintenance department?
18    have got engineer employees within the GCRC, right?        18    My apologies, Mr. Daly.
19 A. Yes.                                                       19 A. No problem. Yes, she is.
20 Q. So the two maybe co-term or co-extensive, they may exist   20 Q. Okay. Did you ever come to observe any instances
21    to be the same person. They could be, in theory, two       21    personally or see any examples where you believed that
22    different people. You could do it 100 ways under the       22    Mr. Peivandi was animus towards African Americans
23    sun, right?                                                23    because of their race?
24 A. There are many different ways to implement that.           24 A. I did not.
25 Q. Okay. Fred had been continuously employed in the           25 Q. You mentioned, at one point in time, that you and Donna

    engineering department since 1999, right?                        Poplar worked together on a tentative re-organization of
2 A. Yes.                                                        2   the Road Commission. You said something about there
3 Q. Across that 18-year period, did you come to know Fred       3   being a change in supervision of the Department of
4   professionally?                                              4   Purchasing; is that right?
5 A. Yes.                                                        5 A. That is correct.
6 Q. Would you say you knew him pretty well? 18 years is a       6 Q. Can you describe, for me, a little bit about what that
7   long time to work with someone.                            7   tentative re-organization entailed?
8 A. I think first, I would say that Fred is an exceptional    8 A. It entailed looking at - purchasing had previously
9   engineer. Probably one of the best engineers I have        9   worked under finance. There were difficulties
IO   ever worked with.                                        10    communicating with, then, Finance Director Melissa
11 Q. During that period of time, did you ever see anything,  11    Williams.    That was the name I couldn't remember early
12   hear anything or have anything that generated   the      12    on  in the position. Melissa Williams, the finance
13   opinion that Fred either had a problem  with or  held    13    director  with the  purchase  coordinator. I did not feel
14   animus towards African Americans, their race, I should   14    it appropriate   to move  the purchasing  coordinator to
15   say? Not particular people, but African Americans as a   15    where   they  were  working  under  my supervision  because
16   race.                                                    16    that would   have   made them  a de facto department  head.
17 A. I had a complaint - Oh Lord, it would have to have been 17           So I looked if that was right at the time that
18   like 2010, 2012, something somewhere in that timeframe, 18     Donna was coming as HR director. So I made a little -
19   the early part of the decade from Kim Day who had been 19      since they were -- purchasing and HR were literally
20   an engineering inspector about how she felt that she was 20    within about eight feet of each other physically, I
21   at the "end of her career". And the reason she couldn't  21    re-assigned that function to HR.
22   get promoted was because of the fact-- one of the        22 Q. It had been, prior to, under finance and then you
23   factors that she felt she couldn't get promoted was that 23    decided to move it to HR at that point in time?
24   she was an Mrican American.                              24 A. Correct.
25 Q. Is Kim Day still an employee, to the best of your       25 Q. Okay. John, I have taken up enough of your time here.
